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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS

PROPST PROPERTIES, LLC                      §
                                            §
              Plaintiff,                    §
                                            §      Case No. 4:18cv511-DPM
v.                                          §
                                            §
RASOOL MOHAMMAD; SELECT                     §
SANDS AMERICA CORPORATION;                  §
WESTBROOK WILLOW, LLC; and                  §
ZIGURDS VITOLS,                             §
                                            §
              Defendants.                   §

         DEFENDANTS WESTBROOK WILLOW, LLC and ZIGURDS VITOLS
             CONSENT TO AND JOINDER IN NOTICE OF REMOVAL

       Come now the separate Defendants, Westbrook Willow, LLC and Zigurds Vitols, by and

through their undersigned counsel, and with full reservation of any and all rights and defenses,

hereby give notice that they consent to and join in the Notice of Removal filed by Defendants

Rasool Mohammad and Select Sands America Corporation on August 8, 2018.

                                    Respectfully submitted,

                                    GILL RAGON OWEN, PA
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                                    By: /s/ Dylan H. Potts
                                           Dylan H. Potts, Ark. Bar No. 2001258
                                           Wm. David Duke, Ark Bar No. 79056
                                           Danielle M. Whitehouse, Ark. Bar No. 2009192


                                    Counsel for Defendants, Westbrook Willow, LLC and
                                    Zigurds Vitols
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2018, I electronically filed this Consent To and Joinder

In Notice of Removal with the Clerk of the Court using the CM/ECF system, which shall send

notification of such filing to the attorneys of record, and also sent this Consent To and Joinder in

Notice of Removal via first-class U.S. mail, postage prepaid, upon the following:


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Joseph W. Price, II
Thomas H. Wyatt
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Attorneys for Defendants Rasool Mohammad
and Select Sands America Corporation



                                              /s/ Dylan H. Potts
                                                  Dylan H. Potts
